






Opinion issued June 26, 2008










In The

Court of Appeals

For The

First District of Texas






NO. 01-07-00519-CV






JAMES CARL FREEMAN, Appellant


V.


KAREN BLOMSTROM, Appellee






On Appeal from the Probate Court No. 1

Harris County, Texas

Trial Court Cause No. 363982






MEMORANDUM OPINION	Appellant, James Carl Freeman, has neither established indigence, nor paid or
made arrangements to pay the clerk's fee for preparing the clerk's record.  See Tex.
R. App. P. 20.1 (listing requirements for establishing indigence), 37.3(b) (allowing
dismissal of appeal if no clerk's record filed due to appellant's fault).  After being
notified that this appeal was subject to dismissal, appellant did not adequately
respond.  See Tex. R. App. P. 42.3(c) (allowing involuntary dismissal of case).

	We dismiss the appeal for want of prosecution for failure to pay or make
arrangements to pay the clerk's fee.  We deny all pending motions.

PER CURIAM

Panel consists of Justices Taft, Jennings, and Bland.


